Case 2:02-cr-20406-SHI\/| Docur‘@§kr§£?g' d(:)ii&,d]Q€/OZ/OB Page 1 of 2 Page|D 55

UNITED STATES DISTRICT COURT _ %
Fti.ED F:.Y___ ,_____,H.C.

FOR THE 05 JUN-Z PH i= 36

WESTERN DISTRICT or TENNESSEE t §§;zi§"`ij"‘;, U§,§¥‘E}T
OF TN MEPF PF-HS

No: 2304cr20244 - Ml
AD TEST[FICANDUM

TO: U.S. MarshalDavid Jolley and Warden, Federal Correctionallnstitution,

Mernphis, Tennessee.

YOU ARE HEREBY COMMANDED to have the person of Mr.cARLOS Raul
Cortez # 1 1855-051, by you restrained of his liberty at Dalby Correctional Institution, 805
North Avenue F. Post, Texas, 79356, as it
is said, by Whatsoever names detained, together With the day and
cause of being taken and detained before the Honorable Judge
Samuel H. Mays, Jr., U.S. District Judge of the United States District
Court for the Western District of Tennessee at the courtroom of
said Court, in the City of Memphis, Tennessee, at 1:30 pm, on the 20th day of June, 2005,
then and there to do submit to, and receive Whatsoever the said Judge shall then and
there determine in that beha]f; and have you then and there this
Writ.

WITNESS the Honorable Samuel H. Mays, Jr.

United States District Judge at Memphis, Tennessee
this 2"d day of June, A.D. 2005 .

Robert R. Di Trolio
Clerk of Court

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with Ru|e 55 and/or 32(b) FHCrP on 6’ OZ’C,/] § 7

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:02-CR-20406 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listedl

 

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Honorable Samuel Mays
US DISTRICT COURT

